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From:

To:

Sent: 3/30/2018 9:41:01 PM
Subject: Confirming our agreement

This is to copfi t | will receive 350 million tokens out of the user pool and relinquish my right to participate in the
token drop. a sent me 10,000 ether and is keeping 70 million out of my total tokens which equal 350 million
out of the user pool, 1.35 billion earned from the raise not subject to any lockup and 900 milion filileared
from the raise subject to a two year lockup from the date of our previous agreement or a total of 2.6 billion tokens due
to me. | can choose to repay the loan of the 10k ether or simply forfeit 70 million tokens in satisfaction of the loan
instead at any point. Please confirm if this is correct.

Sent from my iPhone. Apologies for misunderstandings or typos due to the spell checker.

CONFIDENTIAL
